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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE
COMMISSION,                                               Civil Action No. 18-cv-4309
                           Plaintiff,
                                                          Jury Trial Demanded
              v.

FRANCISCO ABELLAN VILLENA,
GUILLERMO CIUPIAK, JAMES B.
PANTHER, JR., and
FAIYAZ DEAN
                          Defendants.




                                            COMPLAINT

       Plaintiff Securities and Exchange Commission (the “Commission” or the “SEC”) alleges

as follows:

                                            SUMMARY
       1.          Defendants   Francisco   Abellan   Villena   (“Abellan”),   Guillermo   Ciupiak

(“Ciupiak”), James B. Panther, Jr. (“Panther”), and Faiyaz Dean (“Dean”) engaged in a

fraudulent scheme to effect illegal, unregistered sales of and manipulate the market for shares of

the micro-cap company Biozoom, Inc. (“Biozoom”). The scheme quickly generated roughly $34
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million in illicit proceeds from sales of Biozoom shares to retail investors and others at

artificially inflated prices.

        2.      Defendants’ deceptive conduct created the false appearance that (1) Biozoom

shares were legally available for sale to the general public; and (2) the price and trading volume

of Biozoom shares were determined by the natural interplay of market supply and demand, rather

than artificially generated through manipulative trading. Defendants’ deceptive conduct also

concealed Abellan and Ciupiak’s controlling interests in the company that became Biozoom.

        3.      Each defendant played an integral role in the scheme’s success. Abellan and

Ciupiak masterminded and controlled the scheme. Panther furthered the scheme by arranging

the creation of brokerage accounts in the names of nominees, facilitating their trading in

Biozoom stock, and organizing a promotional campaign to coincide with the manipulative

trading. Dean, an attorney, furthered the scheme by acquiring stock for Abellan and Ciupiak in a

manner designed to conceal both Abellan and Ciupiak’s control of the stock and the fact that the

stock should not have been immediately available for re-sale to the public, and then by helping

Panther with the creation of brokerage accounts in the names of nominees into which the

Biozoom shares were deposited and from which they were sold. In May and June of 2013,

Abellan and Ciupiak, with Panther’s assistance, controlled sophisticated manipulative trading to

artificially inflate the price and trading volume for Biozoom shares by creating the false

appearance of active trading in Biozoom stock.

        4.      Months before Abellan and Ciupiak artificially created the appearance of demand

for Biozoom stock, they had Dean arrange to acquire for them all of the shares of an inactive

shell company and to hide Abellan and Ciupiak’s control of these shares by placing them in the

names of Argentine nationals (the “Argentine Nominees”) who had no actual economic interest



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in, or control of, the shares. Dean also falsified the transaction documents to hide the fact that

the acquired shares could not be freely re-sold. Having thus obtained all of the shares, Abellan

and Ciupiak, with significant involvement from Panther, then effectively merged a subsidiary of

the shell company with a German biomedical company, resulting in the creation of Biozoom,

Inc. As a result, all of Abellan and Ciupiak’s shares in the shell company became Biozoom

shares. Panther and Dean arranged to have the Biozoom shares deposited in accounts in the

names of the Argentine Nominees at U.S. brokerages. With Panther’s assistance, Abellan and

Ciupiak then secretly directed the trading in those accounts, as well as in the accounts of other

nominees.

       5.      With the scheme’s groundwork in place, beginning on May 16, 2013, Abellan,

Ciupiak, and Panther quickly laddered the price of Biozoom stock upwards. These defendants

got the stock price moving upward through trading – at ever-increasing prices – among the

Argentine Nominees and these defendants’ network of brokers and traders. Simultaneously,

Abellan and Ciupiak controlled other foreign nominee accounts that they used for manipulative

coordinated bidding to keep the share price propped up. This bid activity created the false

appearance of a rising price resulting from significant demand for Biozoom stock, even as

Abellan, Ciupiak, and Panther caused millions of shares of Biozoom to be illegally sold into the

market. To further drive up demand – and thus Biozoom’s share price – Abellan, Ciupiak, and

Panther organized an elaborate online, print, and radio promotional campaign that coincided with

the manipulative trading.

       6.      Prior to the manipulative trading, Biozoom’s stock never publicly traded. After

manipulative trading started on May 16, 2013, at a pegged price of $1.10 per share, the stock

price peaked at $4.50 per share on June 19, 2013. By selling to retail investors at artificially



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inflated prices, Abellan, Ciupiak, and Panther generated approximately $34 million in illicit

proceeds from sales of shares deposited in the accounts they set up and controlled.

          7.    The Commission suspended trading in Biozoom shares on June 25, 2013. The

Commission also obtained an order freezing all of the sales proceeds in an action previously filed

in this District. More than $16 million in assets located in the United States were subsequently

released to the Commission and distributed to harmed investors. Abellan and Ciupiak had

already caused the other approximately $17 million of proceeds of the fraud to be wired to

offshore accounts they controlled.

          8.    By engaging in this fraudulent scheme, Abellan, Ciupiak, Dean, and Panther

violated Section 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §

78j(b), and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-5, as well as Section 5 of the Securities

Act of 1933 (“Securities Act”), 15 U.S.C. § 77(e), and Section 17(a) of the Securities Act, 15

U.S.C. § 77q(a).

          9.    By this complaint, the SEC seeks permanent injunctions prohibiting future

violations of the federal securities laws, a bar from participating in the offering of any penny

stock, disgorgement of ill-gotten gains together with pre-judgment interest, and civil penalties.

                                 JURISDICTION AND VENUE

          10.   The SEC brings this action pursuant to the authority conferred by Section 20(b) of

the Securities Act, 15 U.S.C. § 77t(b), and Section 21(d) of the Exchange Act, 15 U.S.C. §

78u(d).

          11.   This Court has jurisdiction over this action pursuant to Section 22(a) of the

Securities Act, 15 U.S.C. § 77v(a), and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

Defendants have directly or indirectly made use of the means or instrumentalities of



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transportation or communication in, or the instrumentalities of, interstate commerce, or of the

mails, in connection with the transactions, acts, practices, and courses of business alleged herein.

       12.     Venue lies in this District pursuant to Section 22(a) of the Securities Act, 15

U.S.C. § 77v(a), and Section 27 of the Exchange Act, 15 U.S.C. §78aa, because certain of the

offers and sales of securities and certain of the acts, practices, transactions, and courses of

business constituting the violations alleged in this Complaint occurred in the District. As

detailed below, numerous of the brokerage accounts used to perpetrate the fraud, including by

offering and selling securities, were located at a brokerage in this District. Money was wired

into those accounts, while key communications – including trade orders and efforts to set up the

accounts – occurred in this District. A registered representative at that brokerage, sitting in this

District, routed many of the manipulative trades to other brokers for execution. The brokerage’s

clearing firm, which cleared the certificates for trading, and which received funds from

Defendants, was also located in this District. Finally, other wires to and from entities controlled

by Abellan and Ciupiak were routed through banks in this District.

                                          DEFENDANTS

       13.     Guillermo Ciupiak, age 35, is an Argentine national last known to have resided in

Barcelona, Spain. He is the beneficial owner of Royal Capital Ventures Ltd. (“Royal Capital”).

As described below, Royal Capital provided nearly all the funds used to carry out the scheme.

       14.     Francisco Abellan Villena, age 47, is last known to have resided in Barcelona,

Spain. The SEC previously obtained judgment against Abellan for coordinating another market

manipulation scheme in SEC v. Francisco Abellan, et al., No. 3:08-cv-05502 (W.D. Wash, Aug.

13, 2008). Abellan also exerted substantial control over Royal Capital.




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         15.   James B. Panther, Jr., age 45, is a resident of Carlsbad, California. He is both a

U.S. and Ecuadorian citizen. Panther sometimes identified himself as Jaime (or James) Suqui.

         16.   Faiyaz Dean, age 40, is a Canadian citizen residing in Vancouver, British

Columbia, Canada. He is licensed to practice law in British Columbia, Canada and Washington

State.

                         RELATED ENTITIES AND INDIVIDUALS

         17.   Biozoom was incorporated in Nevada in June 2007 as Entertainment Art, Inc.

(“EERT”) and quoted on the Over-the-Counter Bulletin Board (“OTCBB”). Its common stock was

registered with the Commission pursuant to Exchange Act Section 12(g) on May 22, 2009. In 2013,

EERT became Biozoom through an asset purchase transaction and name change. The Commission

suspended trading in BIZM stock on June 25, 2013. Biozoom deregistered its common stock under

Section 12(g) via a Form 15 filed with the Commission on October 22, 2015.

         18.   Biozoom’s stock was a “penny stock” as defined by the Exchange Act. At all

times relevant to this Complaint, Biozoom’s stock traded at less than $5.00 per share. During the

same time period, Biozoom’s stock did not meet any of the exceptions to penny stock

classification pursuant to Section 3(a)(51) and Rule 3a51-1 of the Exchange Act.

         19.   Mark Karow, age 55, is a resident of Great Neck, New York. Karow was, from

July 2011 until June 2014, a registered representative in Legend Securities, Inc.’s office in New

York, New York. In May 2018, Karow, without admitting or denying factual allegations, settled

the Commission’s claims against him for his role in the events alleged in this Complaint.

         20.   Legend Securities, Inc., (“Legend”) has been registered with the Commission as a

broker-dealer with its principal place of business in New York, New York since November 1998.




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In May 2018, Legend, without admitting or denying factual allegations, settled the

Commission’s claims against it for its role in the events alleged in this Complaint.

        21.     Timothy Scarpino, age 35, is a resident of Scottsdale, Arizona. Scarpino was,

from 2009 until 2013, a registered representative at a broker-dealer located in Scottsdale,

Arizona. In May 2018, Scarpino, without admitting or denying factual allegations, settled the

Commission’s claims against him for his role in the events alleged in this Complaint.

                                         BACKGROUND

        22.     Under Section 5 of the Securities Act, it is unlawful for any person, directly or

indirectly, to offer or sell securities using the U.S. mails or interstate commerce, unless (1) the

offer or sale is registered with the SEC pursuant to a valid registration statement that applies to

that specific offering of stock; or (2) the offer or sale is exempt from the registration

requirements of Section 5. Section 5 applies to both direct and indirect sellers. An indirect seller

is a person who was a necessary participant and substantial factor in the unregistered sales.


                                        STATEMENT OF FACTS

A.      Background of EERT’s Shares

        23.     Biozoom’s predecessor entity, EERT, was incorporated in June 2007, ostensibly

to market a line of leather bags.

        24.     As of 2009, EERT had two categories of shares outstanding: (1) 1.2 million

restricted control shares held by EERT’s three founders (the “control block”); and (2) 610,000

shares EERT had sold to 34 investors (“private placement investors”) in private placement

transactions (“private placement shares”). EERT registered the resale of the private placement

shares in a filing with the SEC that became effective on July 29, 2008. No sales were made

pursuant to this registration.


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       25.     In May 2009, Medford Financial, Inc. (“Medford”) purchased all outstanding

EERT shares in a private transaction. As a result, the previously-filed registration statement was

no longer effective, and the private placement shares became control shares, subject to

restrictions on their public re-sale. No new registration statement was ever filed with the

Commission regarding those shares’ potential re-sale.

       26.     To conceal from the public and regulators that the private placement shares had

been converted to control shares subject to significant restrictions on their public re-sale,

Medford did not disclose its purchase of the shares or seek to transfer them into its name. The

private placement shares therefore remained in the names of the 34 private placement investors.

       27.     EERT’s public filings furthered this deception, falsely stating that Medford

acquired only the 1.2 million control block shares.

       28.     EERT’s stock underwent a 33:1 forward split in July 2009, making the total

shares outstanding 59.73 million. All of these shares were control shares owned by Medford.

       29.     By late 2010, two shell brokers affiliated with Medford began to advertise EERT

for sale. They distributed a term sheet to individuals including Dean, which indicated that

“99%” of EERT’s shares were available for purchase. Dean therefore knew or was reckless in

not knowing that EERT’s control shares and private placement shares were under common

control. EERT’s public filings and related documentation, however, incorrectly continued to

reflect that there remained two distinct blocks of stock: 39.6 million control block shares, and

20.13 million private placement shares. EERT had no business activity throughout this period.

B.     Abellan and Ciupiak Acquired Biozoom’s Predecessor Entity, EERT, and Dean Hid
       Their Involvement

       30.     In or around December 2010, Ciupiak contacted Dean, looking for a “specialist to

take companies public.” Dean responded, “Yes that is exactly what we do here and we can

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definitely assist.” Over the next eighteen months, Dean identified public shell companies to

Ciupiak for potential acquisitions unrelated to Biozoom.

       31.     On or about July 18, 2012, Dean contacted the shell brokers affiliated with

Medford and asked if they knew of any public shell companies available for purchase. Dean did

not identify his client, Ciupiak, as the person who wanted to purchase the shell. The shell

brokers told Dean that EERT was available.

       32.     On July 23, 2012, Dean sent the shell brokers a proposed Letter of Intent pursuant

to which Dean’s client would acquire all of EERT’s shares – including the 20.13 million private

placement shares – for $430,000. One of the brokers responded, “We can’t have both free and

restricted in 1 agreement, this will be viewed as a combined purchase and the free will become

restricted. We will assemble two separate agreements and send back. This is the best way to

consummate the deal.” The shell brokers knew that Dean and his client wanted to conceal that

the private placement shares were control shares subject to significant restrictions on their public

re-sale, and Dean knew that documentation of the purchase of all shares by his client would

reveal the shares’ control status.

       33.     To continue to hide the control status of the shares, Dean and the shell brokers

revised the final Letter of Intent to falsely indicate that Dean’s client would purchase only the

39.6-million-share control block, even though the purchase actually included both the control

block and the private placement shares for the price of $430,000, the same amount Dean had

offered to purchase all of the shares.

       34.     Ciupiak and his associate, Abellan, did not want their involvement in the purchase

of EERT known, so they created a nominee entity – Le Mond Capital (“Le Mond”), a British

Virgin Islands entity – as a vehicle for their purchase. They installed a Canadian national



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residing in Buenos Aires, Argentina as the nominal director of Le Mond. In an email sent on

September 6, 2012, Dean told the shell brokers that Le Mond would be the purchaser.

       35.     In October 2012, Le Mond completed the transaction to purchase all of the shares

of EERT. Royal Capital, a Seychelles entity owned and controlled by Abellan and Ciupiak,

provided the $430,000 purchase price via an escrow agent hired by Dean.

       36.     As part of the transaction, Dean negotiated with the shell brokers to obtain

$105,000 of the $430,000 purchase funds as a “finder’s fee.” The finder’s fee was paid to an

entity controlled by Dean’s wife.

       37.     EERT’s SEC filings continued to conceal the transfer of the private placement

shares. The October 25, 2012 Form 8-K filed with the SEC stated that Le Mond purchased only

the 39.6-million-share control block and omitted any reference to the 20.13 million private

placement shares. Because of the deceptive manner in which Dean documented the purchase,

the share certificates for the private placement shares were not cancelled and reissued in Le

Mond’s name, and thus were not designated as control shares, as they should have been.

       38.     Through Dean’s deceptive conduct, by October 2012, Abellan and Ciupiak

controlled all of EERT’s outstanding stock, including the 20.13 million private placement shares

that still falsely appeared to belong to the 34 private placement investors, and thus falsely

appeared eligible for public resale by the private placement investors pursuant to a registration

exemption.

C.     Dean Arranged for the Transfer of EERT Shares to Argentine Nominees
       39.     By no later than fall 2012, Dean started communicating with Panther in

connection with the scheme. When communicating with Dean, Panther often used an email

address containing the name “Suqui,” such as james.suqui@strategies.com.ec. As discussed

below, “Suqui” was a pseudonym Panther used throughout the scheme.

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       40.     Abellan and Ciupiak concealed their control of the scheme by operating through

nominees. Beginning in November 2012, Dean arranged to have the private placement shares –

which were nominally owned by Le Mond and actually controlled by Abellan and Ciupiak –

transferred into the names of the ten Argentine Nominees. To accomplish this, Dean provided

EERT’s transfer agent with fraudulent stock purchase agreements. In most cases, these

agreements purported to show that the Argentine Nominees purchased the private placement

shares directly from the private placement investors, even though Dean knew that Abellan and

Ciupiak, using Le Mond, had acquired the shares from Medford several months earlier.

       41.     Dean knew or was reckless in not knowing that these purchase agreements were

shams. He had previously arranged the sale of the private placement shares from Medford to Le

Mond, so he knew or was reckless in not knowing that, at the time of the transfer to the

Argentine Nominees, the private placement investors did not own those same shares and thus

could not sell them to anyone.

       42.     Because the purchase agreements falsely reflected that the Argentine Nominees

were purchasing shares directly from the private placement investors, Dean was able to use the

agreements to facilitate the transfer agent’s issuance of new share certificates without restrictive

legends in the names of the Argentine Nominees. Dean’s deceptive conduct was successful, and

from November 2012 through May 2013, the transfer agent issued certificates without restrictive

legends for the 20.13 million private placement shares in the names of the ten Argentine

Nominees and provided the certificates to escrow agents chosen by Dean.

       43.     The escrow agents received the certificates from the transfer agent and the

purchase funds from foreign bank accounts in the Argentine Nominees’ names, which, as

discussed below, actually were controlled and funded by Abellan and Ciupiak.



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       44.     As Dean instructed, the escrow agents sent the certificates to Dean’s office and

wired $118,000 of the supposed purchase funds to Dean, even though Dean ostensibly

represented the buyers of the shares. Dean did not have the funds transferred to the private

placement investors – the purported sellers of the shares – because he knew that there was no

actual sale between the private placement investors to the Argentine Nominees and that the

shares were, in fact, owned by Le Mond, the entity controlled by Abellan and Ciupiak. Dean’s

subterfuge facilitated the transfer of the shares to the Argentine Nominees who were also

controlled by Abellan and Ciupiak.

D.     Abellan, Ciupiak, and Panther Searched for an Operating Company, and Panther
       Used Deception to Facilitate EERT’s Transition to Biozoom

       45.     By late 2012, Panther, Abellan, and Ciupiak had begun searching for a company

with a product to promote.

       46.     An associate of Abellan identified the Opsolution companies (collectively,

“Opsolution”), a collection of three entities based in Germany, that was developing a mobile

scanner that would provide biometric readings from a non-invasive skin scan. The founders and

officers of Opsolution were seeking investors to support commercial development of the

company’s product.

       47.     In late 2012 or early 2013, Panther and Dean spoke with Opsolution’s officers.

Panther introduced himself to them as “James” and later communicated with them using the alias

“James Suqui” and the email address james.suqui@strategies.com.ec.

       48.     Panther told the Opsolution officers that he represented a group of potential

investors who were interested in Opsolution’s technology. Panther offered to help Opsolution

navigate entry into the U.S. stock market, which he claimed would help the company raise funds.




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       49.     Panther met with the Opsolution officers in Zurich, Switzerland on January 17,

2013. Panther said the group he represented could invest $2 million in Opsolution, but the deal

and due diligence would need to be completed quickly, to which the Opsolution officers agreed.

Panther placed a call to Abellan’s Barcelona phone number on the day of the meeting with the

Opsolution officers and traveled the next day to Barcelona, where Abellan and Ciupiak resided.

       50.     Panther requested that Opsolution prepare a business plan. The Opsolution

officers provided the confidential business plan, including detailed financial projections, to only

Panther and Dean. As described below, without the Opsolution officers’ knowledge or approval,

this information later was used in promotional materials touting Biozoom stock financed by

Abellan and Ciupiak and arranged by them, along with Panther.

       51.     On February 28, 2013, EERT filed a Form 8-K with the SEC announcing a share

transaction and asset purchase of Opsolution. In effect, Opsolution merged into an EERT

subsidiary called Biozoom Technologies, and became Biozoom, Inc. effective April 1, 2013. All

outstanding EERT shares were converted into shares of Biozoom, which was quoted under the

ticker symbol “BIZM.” The number of BIZM shares available for trading, known as its “float,”

remained the same as EERT’s.

       52.     Le Mond transferred 39 million control shares to the Opsolution officers; Le

Mond’s nominal owner retained 600,000 shares. As disclosed control shares, these shares were

not available for public resale absent registration or an applicable exemption. After the

transaction, Abellan and Ciupiak continued to control the 20.13 million private placement shares

in the Argentine Nominees’ names.

       53.     In connection with the transaction, Opsolution/Biozoom received payments

totaling approximately $1.2 million into its U.S. corporate bank account, with $600,000 coming



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from a Panamanian entity over which Ciupiak had a general power of attorney and that sent

funds to and received funds from Royal Capital.



E.     Abellan and Ciupiak Controlled Argentine Nominee Bank, Brokerage, and Other
       Accounts to Further the Scheme

       54.     Abellan and Ciupiak controlled brokerage and bank accounts in the names of the

Argentine Nominees. After Dean arranged to transfer Abellan and Ciupiak’s 20.13 million

private placement shares into the names of ten Argentine Nominees, Abellan and Ciupiak – with

assistance from Panther and others – opened and controlled brokerage accounts in the names of

those same Argentine Nominees. Panther and Dean then arranged to deposit the share

certificates into the brokerage accounts, so that Abellan and Ciupiak could liquidate their shares.

Abellan and Ciupiak funded the Argentine Nominees’ brokerage accounts using corresponding

bank accounts in the names of the Argentine Nominees (which Abellan and Ciupiak also

controlled) located in several different foreign countries.

       55.     Starting in or around November 2012, Abellan and Ciupiak deposited substantial

funds – tens of thousands of Euros – from Royal Capital into the Argentine Nominees’ bank

accounts.

       56.     After the first bank wrote that it would need supporting documents or an

explanation as to the source of the funds, Ciupiak directed a lawyer in Switzerland to create a

sham trust agreement between Royal Capital, the lawyer’s entity as Trustee, and one of the

Argentine Nominees (“Nominee 1”) as beneficiary, and to use that trust agreement as the

standard to fund all the Argentine Nominees’ bank accounts. Ciupiak further instructed the

Swiss lawyer that Nominee 1 needed to appear to be a signatory so it would look like the

nominee had engaged the trustee. On or about January 7, 2013, Ciupiak sent a trust agreement to

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the lawyer, supposedly signed by Nominee 1. Abellan and Ciupiak used similar sham trust

agreements in connection with funding bank accounts in each of the Argentine Nominees’

names.

         57.   In addition to sham trust agreements, Abellan and Ciupiak also used sham loan

agreements between Royal Capital and each of the ten Argentine Nominees to falsely document

the funding transactions. For example, with respect to a second Argentine nominee (“Nominee

2”) whose accounts Ciupiak and Abellan also controlled, Ciupiak told the Swiss lawyer on

January 28, 2013, that “[w]e are trying to deposit 50,000 EUR at [Nominee 2’s] bank account

through a loan agreement coming from Royal [Capital]. I’ll need you to draft a trust agreement .

. . for this transaction. I’ve also attached the loan agreement between Royal and [Nominee 2].”

         58.   Ciupiak informed the Swiss lawyer that the funds for the nominee accounts were

set to arrive in the lawyer’s “trustee” entity bank account. Ciupiak then reminded the lawyer to

inform “us” when he was “sending the wires” to the Argentine Nominees’ bank accounts. Royal

Capital – Abellan and Ciupiak’s Seychelles entity – wired funds to the Swiss lawyer’s entity.

The Swiss lawyer, in turn, wired those funds onward to foreign bank accounts – including

accounts in Belize, Cyprus, Panama, St. Vincent and the Grenadines, and Switzerland, but not

Argentina – in the names of the Argentine Nominees. These wires referred to the sham loan and

trust agreements. For example, on January 30, 2013, Royal Capital wired €51,500 to the

lawyer’s entity, and the wire receipt stated this payment was for “Loan and Trust Agreement.”

Two days later, the Swiss lawyer transferred €50,000 from his entity’s bank account to a Cyprus

bank account in Nominee 2’s name, again with reference to “Loan and Trust Agreement.”

         59.   In this manner, Abellan and Ciupiak funded the nominee bank accounts while

concealing their control and funding of the accounts by hiding behind the Argentine Nominees



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and Royal Capital. Later communications underscore the extent to which they controlled the

Argentine Nominees’ bank activity. For example, on April 24, 2013, Abellan told the Swiss

lawyer that the “transactions” for two nominees would not “happen at the moment. We will

keep you updated on any changes.” Abellan and Ciupiak used the Argentine Nominees’ bank

accounts to fund brokerage accounts they controlled in the names of Argentine Nominees and to

effect the Argentine Nominees’ sham share purchases arranged by Dean, discussed above.

       60.     To further conceal that they controlled bank and brokerage accounts in the names

of the Argentine Nominees, Abellan, Ciupiak, and Panther controlled and monitored email and

instant message accounts in the names of the Argentine Nominees and used those accounts to

communicate with the banks and brokers. For example, on November 16, 2012, a bank

employee sent an email to the email address of Nominee 1. Less than an hour later, Ciupiak

forwarded this email to the Swiss lawyer. There was no intervening “forward” from Nominee

1’s email address to Ciupiak’s email address, which indicates that Ciupiak actually received

emails intended for Nominee 1, including those regarding the bank account in Nominee 1’s

name. Moreover, Internet Protocol (“IP”) records confirm that Abellan and Ciupiak controlled

the instant messages that were sent in the names of the Argentine Nominees to brokers in

connection with trading.

       61.     Abellan and Ciupiak took additional steps to conceal their control of these instant

message accounts by making extensive use of anonymous proxy servers. Anonymous proxy

servers are servers that act as intermediaries between end users, and thus obfuscate the location

and identity of the actual user. Virtually all of the messages sent from the Argentine Nominees’

instant message accounts – which, as discussed below, placed all of the sell orders to liquidate

Abellan and Ciupiak’s BIZM shares – were sent through anonymous proxy servers.



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F.     Panther and Dean Directed and Facilitated the Opening of the Argentine Nominees’
       Brokerage Accounts and Deposits of Private Placement EERT Shares

       62.      From November 2012 through May 2013, Panther, with Dean’s assistance,

directed and facilitated the opening of accounts at U.S. brokerage firms in the names of the

Argentine Nominees who nominally owned the private placement shares. As described above,

those accounts and the shares they contained were controlled by Abellan and Ciupiak.

       63.      In November 2012, Panther attempted to open a brokerage account in the name of

Nominee 2 at a broker-dealer in Florida (the “Florida Brokerage”). Phone records show several

calls between a registered representative at the Florida Brokerage (“Florida Rep”) and Panther’s

number and at least one call between the Florida Rep and Abellan’s Barcelona phone number in

late September.

       64.      During that time, Panther was in regular contact with Abellan. Panther was in

Barcelona – where Abellan was located – from November 11 to November 21, 2012. Between

November 23, 2012 and December 1, 2012, shortly after Panther returned to California, phone

records show at least ten lengthy calls between Panther’s phone number and Abellan’s Barcelona

phone number.

       65.      On November 21, 2012 – the last day of Panther’s November stay in Barcelona –

the Florida Brokerage received, via email, completed account opening documents for the account

in the name of Nominee 2, which stated that Nominee 2 intended to deposit a certificate for

165,000 EERT shares he purportedly purchased from a private placement purchaser, Investor A.

       66.      The Florida Brokerage’s clearing firm would not clear Nominee 2’s share

certificate unless he provided the original subscription agreement reflecting Investor A’s

purchase of the shares from EERT. However, none of the Defendants had that agreement.




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          67.   On December 3, 2012, Panther wrote to Dean: “Need to find out if the cert was

sent to the broker. There is an issue with clearing firm. If it was sent need the tracking number

asap to pass to orcle [sic].” “Oracle” was a name Abellan sometimes used. For example, in an

email, Abellan stated that his instant messaging handle was “oracle.”

          68.   Because Nominee 2 could not provide the original subscription agreement, the

clearing firm, located in Manhattan, New York, refused to clear the share certificate for trading.

Florida Rep then referred the account to Karow, a registered representative at Legend, a broker-

dealer also located in Manhattan, where Karow had his office.

          69.   From January to May 2013, Karow opened five accounts in the names of some of

the Argentine Nominees; shares of EERT were deposited into four of those accounts.

          70.   In connection with each deposit, the Argentine Nominees provided (1) a stock

purchase agreement reflecting that they purportedly purchased the private placement shares from

the original private placement investors, and (2) an opinion letter that stated the shares were not

required to bear a restrictive legend and could be sold without registration.

          71.   Panther and Dean arranged for the issuance of these opinion letters by an Illinois-

based attorney. Panther and Dean provided the Illinois-based attorney with documents and

information. For example, Dean sent the Illinois-based attorney a document that Dean obtained

from Panther that bore the purported signature of one of the Argentine Nominees.

          72.   When Nominee 2 first attempted to deposit an EERT share certificate in his

account at Legend, Karow raised questions concerning Nominee 2’s purchase of the EERT

shares.

          73.   In response, Panther called Karow. Panther’s phone records indicate that on

February 27, 2013, Panther had spoken with Abellan and then immediately called Karow.



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Although he was not an attorney, Panther falsely claimed to be a lawyer calling on behalf of his

“client,” Nominee 2. In fact, Panther was acting on behalf of Abellan and Ciupiak. Karow told

Panther that Nominee 2 needed to supply documentation that Nominee 2 had purchased the

shares in a bona fide transaction. Panther offered to provide Karow with documentation in an

attempt to address Karow’s request.

          74.   Panther knew, or was reckless in not knowing, that Nominee 2 had not purchased

the shares in a bona fide transaction. After the call with Karow, Panther called Dean. Dean then

directed the escrow agent he had retained for the sham transaction between Nominee 2 and

Investor A to send a letter to Karow. The escrow agent sent Karow a letter that stated that the

funds to purchase the shares were “disbursed” in March 2013.

          75.   However, the purported purchase funds from Nominee 2 were never sent to

Investor A because Investor A had already sold the shares to Medford several years earlier. To

the contrary, as described above in ¶¶ 43-44, on Dean’s instructions, the escrow agent sent the

purported purchase funds to Dean, who purportedly represented Nominee 2, the purchaser of the

shares.

          76.   On March 12, 2013, Nominee 2’s EERT shares were cleared for trading. Over

the ensuing weeks, the shares deposited in the accounts of additional Argentine Nominees at

Legend were likewise cleared for trading.

          77.   In order for the Argentine Nominees to trade in these accounts, the accounts

needed to be funded to cover clearing and other fees. There were significant issues with funding

the account in the name of another of the Argentine Nominees (“Nominee 3”), requiring

interventions by Panther, Dean, Abellan, and Ciupiak.




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       78.     Panther’s father was an attorney with his own law firm. On April 26, 2013, Royal

Capital, the entity controlled by Abellan and Ciupiak, wired nearly $375,000 to an attorney trust

account in the name of Panther’s father’s law firm; Panther had access to that account. Abellan

generated a fraudulent billing invoice purportedly from the law firm to Royal Capital for nearly

$375,000 to falsely justify the transfer.

       79.     On May 5, 2013, Dean called Karow stating that Nominee 3 was having difficulty

funding her account arising from Cyprus banking issues.

       80.     In early May 2013, Panther’s father’s law firm sent Karow a cashier’s check to

fund Nominee 3’s account. Although the check listed Nominee 3 as the payer, it was in fact

drawn on Panther’s father’s law firm trust account using funds from the Royal Capital wire. The

clearing firm declined to accept the cashier’s check.

       81.     Eventually, the accounts opened by Karow in the names of Nominee 3 and other

Argentine Nominees into which certificates were deposited were successfully funded, all with

money that ultimately came from Royal Capital through the Swiss lawyer and the Argentine

Nominees’ foreign bank accounts that Abellan and Ciupiak controlled.

G.     Panther Attempted to Facilitate Deposits at the California Brokerage and When
       Rejected, Arranged for Deposits at the Arizona Brokerage

       82.     In early May 2013, immediately after returning from two months in Barcelona,

Panther met with the president of a broker-dealer located in El Segundo, California (the

“California Brokerage”) about referring individuals to open accounts at the California Brokerage.

Throughout the meeting and all of his subsequent communications with the California

Brokerage, Panther identified himself using the pseudonym “Jaime Suqui.”

       83.     Panther explained that his referrals would deposit shares of Biozoom, a company

with which he was working.


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        84.     On May 2, 2013, a Ciupiak/Abellan associate in Barcelona (“Barcelona

Associate”) sent to the California Brokerage a list of six of the Argentine Nominees who

intended to open accounts at the California Brokerage. The completed account opening

documents subsequently submitted for those Argentine Nominees listed “Jaime P. Suqui” as the

source of the referral.

        85.     When the Argentine Nominees attempted to deposit share certificates in their

accounts, the California Brokerage’s clearing firm refused to clear the certificates without the

original subscription agreements between the private placement investors and EERT.

        86.     Unable to provide those agreements, further reinforcing that he knew or was

reckless in not knowing that the Argentine Nominees did not acquire the shares in a bona fide

transaction with the private placement investors, Panther instead explored opening accounts at a

broker-dealer in Arizona (the “Arizona Brokerage”) where the share certificates could be

transferred.

        87.     Panther sought and received several accommodations from the Arizona Brokerage

for the Argentine Nominees. Panther demanded that the Arizona Brokerage arrange for the

direct routing of orders to the Florida Brokerage and the California Brokerage without the

involvement of any other broker-dealers or market participants. Panther also required that the

Arizona Brokerage permit the Argentine Nominees to place orders by instant message.

        88.     From May 10 to May 16, 2013, the Arizona Brokerage received account opening

applications for four of the Argentine Nominees. The initial paperwork listed “James Panther”

as the referring party. Panther asked the Arizona Brokerage to remove this reference to his

name, and it was.




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       89.     On May 15, 2013, Panther met with the Arizona Brokerage’s owner and Timothy

Scarpino, one of its registered representatives, in California. At the meeting, Panther said that the

Argentine Nominees planned to deposit share certificates of Biozoom into their respective

accounts for trading. Panther explained that he was working with Biozoom to raise its share

price and that the Argentine Nominees could bring a good amount of business to the Arizona

Brokerage. Panther reiterated that his referrals must be allowed to place orders via instant

message and route trades directly to the Florida Brokerage and the California Brokerage. The

Arizona Brokerage owner agreed to Panther’s requests.

       90.     The next day – May 16, 2013 – the California Brokerage transferred to the Arizona

Brokerage the EERT share certificates that the California Brokerage’s clearing firm had rejected.

Dean submitted to the Arizona Brokerage documentation it required for the deposit of the

Argentine Nominees’ share certificates, including the fraudulent stock purchase agreements

discussed in ¶¶ 40-41 above. The documentation provided by Dean indicated that the Argentine

Nominees would collectively deposit a total of 8.92 million shares. The share certificates were

deposited and cleared for trading at the Arizona Brokerage.

H.     Abellan, Ciupiak, and Panther Controlled and Monitored the Nominee Brokerage
       Accounts

       91.     By early May 2013, Abellan, Ciupiak, Panther, and Dean had facilitated the

opening of, and deposit of 15.675 million BIZM shares (more than 77% of the private placement

shares) into, brokerage accounts at Legend and the Arizona Brokerage in the names of eight of

the Argentine Nominees.

       92.     Abellan and Ciupiak controlled these accounts in the names of the Argentine

Nominees. This control is confirmed by IP records. Emails sent by Abellan and Ciupiak were




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often sent from the same IP addresses that sent instant messages that directed trading in at least

seven of the eight accounts.

       93.     Panther’s communications confirmed that he also had the ability to monitor the

accounts’ trading. Panther communicated with the Arizona Brokerage frequently throughout the

trading described below. During the four weeks from May 29 through June 24, 2013, Panther

spoke to Scarpino multiple times on every trading day but one, often starting before the market

opened. Panther discussed BIZM in general and, on at least some occasions, specifically asked

how his referrals were doing. During this period, Panther almost always called Scarpino from

Abellan’s phone number in Barcelona.

       94.     Panther was aware of the trading when it occurred and monitored and participated

in it in real time. In particular, Panther had real time visibility into the instant messaging

accounts the Argentine Nominees used to place orders to trade. On one occasion, for example,

Scarpino briefly stepped away from the trading desk; after he had been away for a short time,

Panther called Scarpino and asked why he had not responded to instant messages from one of the

Argentine Nominees.

       95.     Abellan and Ciupiak also funded the Argentine Nominees’ accounts. As

described above in ¶¶ 58-59, Abellan and Ciupiak sent funds from Royal Capital through an

intermediary – the Swiss lawyer’s “trustee” entity –to foreign bank accounts in the names of the

Argentine Nominees. Those bank accounts then sent that money onward to the U.S. to fund

brokerage accounts at Legend.

I.     Other Nominee Accounts Abellan, Ciupiak, and Panther Used to Manipulate
       Biozoom Stock

       96.     Abellan and Ciupiak also controlled and funded – through Royal Capital – other

nominee accounts opened at the California Brokerage, the Arizona Brokerage, and an online

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broker-dealer (the “Online Brokerage”). EERT/BIZM shares were not deposited in these

nominee accounts, but Abellan and Ciupiak used the accounts to manipulate the market for

Biozoom stock. As with Scarpino, Panther communicated with the California Brokerage

regarding BIZM frequently throughout the trading, often starting before the market opened, and

on several occasions called the California Brokerage president from Abellan’s phone number in

Barcelona. One such account was in the name of AFI Allgemeine Finanz und Investment AG

(“AFI”), a purported Swiss investment firm that Abellan and Ciupiak controlled.

       97.     Abellan and Ciupiak instructed the Swiss lawyer to create AFI. To obscure their

control of AFI, Abellan and Ciupiak directed the Swiss lawyer to install a nominee as AFI’s

ostensible director. In an October 18, 2012 email, the lawyer wrote Abellan and Ciupiak that he

had identified a director candidate who “is willing to do the job at 10 000 a year, no questions

asked, no auditing required.”

       98.     To make AFI appear to be a legitimate entity in order to open brokerage accounts

in its name, Abellan directed the establishment of a web domain and email accounts in AFI’s

name in a manner designed to conceal Abellan’s role. On February 17, 2013, Abellan wrote to

the Swiss lawyer that AFI’s website was “[n]ot intended for comercial [sic] use,” and the next

day stated that it would also be good to have a working telephone number listed on the website

for “[w]hen we are active in the public markets.”

       99.     Abellan and Ciupiak controlled AFI’s email, which was used to communicate

with brokers at firms where AFI had accounts. For example, a May 21, 2013 email from a

broker to AFI’s nominee director went directly to Ciupiak’s email account. A May 22, 2013

email from a broker to AFI’s nominee director went directly to Abellan’s email account.




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       100.    Abellan and Ciupiak also controlled AFI’s bank accounts and concealed their

control by using at least one pseudonym. For example, in a May 17, 2013 email, Abellan

instructed the Swiss lawyer to set up a bank account in AFI’s name, but cautioned that the bank

“knows me by Mark” and asked him not to mention “my real name.” “Mark” was a pseudonym

Abellan used throughout the scheme.

       101.    Three brokerage accounts were opened in AFI’s name. Panther referred the AFI

account that was opened at the Arizona brokerage. The two other accounts were opened at the

California Brokerage and Online Brokerage.

       102.    In addition to AFI’s accounts, Abellan and Ciupiak also controlled and funded

other nominee brokerage accounts which they used to manipulate the market for Biozoom stock.

One account was opened in the name of another Argentine citizen (“Purchaser Nominee 1”) at

the California Brokerage in May 2013. Purchaser Nominee 1’s Foreign Account Due Diligence

Questionnaire, a form that the broker-dealer required from potential foreign clients, stated that

“Suqui” had referred her to the California Brokerage. Later, this account was used for trading in

BIZM stock. An account in the name of Purchaser Nominee 1 was also opened at the Arizona

Brokerage in early June 2013.

       103.    An account in the name of another Argentine citizen (“Purchaser Nominee 2”)

was opened at the California Brokerage in May 2013. In 2012, Purchaser Nominee 2 received

hundreds of thousands of dollars from Abellan and Ciupiak’s entity, Royal Capital. A purported

Loan Agreement between Royal Capital and Purchaser Nominee 2 was executed to make the

large transfer of funds appear legitimate. IP records, as well as records that identify specific

computers and cell phones, indicate that Abellan entered orders in a brokerage account in

Purchaser Nominee 2’s name at Online Brokerage.



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J.     Abellan, Ciupiak, and Panther Illegally Sold Millions of BIZM Shares

       104.    From May 16, 2013 through June 19, 2013, Abellan and Ciupiak, with the

assistance of Panther and other associates, liquidated over 14 million Biozoom shares through

the accounts Abellan and Ciupiak controlled in the names of the Argentine Nominees at Legend

and the Arizona Brokerage. Their sales yielded approximately $34 million in illegal proceeds.

       105.    During this time, Abellan, Ciupiak, Panther, and their associates also engaged in

manipulative trading intended to artificially inflate the price of Biozoom stock. They controlled

accounts that strategically placed bids and executed orders to enable and support the massive

liquidation of the Argentine Nominees’ BIZM shares into the market.

       106.    In the fall of 2012, Abellan and the Florida Rep established a market price for

EERT stock, which had never publicly traded. Phone records show that on September 28, 2012,

several weeks before Abellan and Ciupiak’s acquisition of EERT was finalized, Abellan and the

Florida Rep participated in a 15-minute call. Less than two months later, the Florida Rep and

Abellan engaged in the first public trades of EERT stock in the company’s history. On

November 21, 2012 – the same day the Florida Rep received Nominee 2’s EERT share deposit –

Florida Rep sold short 300 shares at $1.01 per share and then covered his short position eight

minutes later at $1.02 per share. His counterparty on the opposite side of both trades was an

Online Brokerage account in the name of Purchaser Nominee 2; IP and related records show that

in fact Abellan operated this account. Travel records also show that Panther was in Barcelona –

where Abellan lived – on that day.

       107.    Neither EERT nor BIZM stock publicly traded again until May 2013. Beginning

in May 2013, the Argentine Nominees’ accounts at Legend began engaging in concerted trading.




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These accounts were controlled by Abellan and Ciupiak and sold shares directly to the Florida

Rep.

       108.    The first order after November 2012 was placed by a trader from Spokane,

Washington (the “Spokane Trader”) and friend of the Florida Rep. The Spokane Trader

provided “bid support” – buy orders entered for the purpose of establishing or maintaining the

appearance of a market for Biozoom stock. On May 15, 2013, the Spokane Trader placed an

order to buy 2,500 shares of BIZM at $1.00 per share. In conjunction with the previous

November’s trades, this helped set a price floor for BIZM of roughly $1.00 per share.

       109.    The next day, on May 16, 2013, the Argentine Nominees’ accounts – controlled

by Abellan and Ciupiak, with Panther’s assistance – began their liquidation of BIZM shares,

initially trading only with the Florida Rep. That day, Nominee 1’s account at Legend sold

10,000 shares of BIZM to the Florida Rep at $1.10 per share, in the first public transaction to

occur under the ticker symbol “BIZM.”

       110.    That trade was effected as follows: At 3:40 p.m. on May 16, 2013, Karow at

Legend received an instant message from Nominee 1, instructing Karow to “sell 10,000 shares

Biozoom limit price 1.10 [Good ‘Til Canceled].” By specifying a limit price of $1.10, Nominee

1 ensured that the shares would not be sold for less than that price, thus creating an effective

price floor. One minute later, the Florida Rep called Karow. The timing of this call suggests

that the Florida Rep knew Nominee 1 had placed his order with Karow. At 3:43 p.m., Karow

sent the order to the Florida Brokerage for execution. The Florida Rep immediately filled the

order by buying 10,000 shares at $1.10 per share, taking the shares into the Florida Brokerage’s

inventory of securities.




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         111.    Over the next three trading days, the Argentine Nominees’ accounts at Legend

  sold a total of 40,000 Biozoom shares to the Florida Brokerage. The price of Biozoom stock

  increased each day by $.05 per share. And each day, bid support from the Spokane Trader

  established a price floor a few cents below the execution prices. This chart illustrates the

  Biozoom trading and bid support during its first four trading days:




 DATE         Argentine           # BIZM shares sold        SALE           BID SUPPORT PRICE
            Nominee seller at        from Legend            PRICE          (outstanding buy orders
               Legend             Accounts to Florida                       placed by the Spokane
                                  Brokerage Accounts                               Trader)

May 16      Nominee 1             10,000                   $1.10        $1.00


May 17      Nominee 1             10,000                   $1.15        $1.11


May 20      Nominee 2             15,000                   $1.20        $1.17


May 21      Nominee 2             15,000                   $1.25        $1.20




         112.    Starting on May 23, 2013, the Florida Rep began to sell to the Spokane Trader

  some of the shares the Florida Rep had acquired from the Argentine Nominees at Legend.

         113.    On May 23, 2013, Nominee 2 instructed Karow to sell 25,000 Biozoom shares at

  no less than $1.30 per share. Karow immediately routed the order to the Florida Rep for

  execution. Roughly one minute later, the Spokane Trader entered an order to purchase 25,000

  Biozoom shares at $1.31 per share. Almost simultaneously with the Spokane Trader’s order, the

  Florida Rep sold 25,000 BIZM shares from his inventory to another brokerage firm located in



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New Jersey (the “New Jersey Brokerage”), at $1.31 per share, and the New Jersey Brokerage

promptly sold those same shares to the Spokane Trader. The Florida Rep then executed against

Nominee 2’s sell order at $1.30. The Florida Rep thereby made $0.01/share, while ensuring that

the Spokane Trader was able to begin accumulating shares. The continued use of limit orders on

both the buy and sell sides ensured that Abellan and Ciupiak could keep BIZM’s share price

within a desired range.

       114.    The next day’s trading followed the same pattern – Karow routed a 25,000-share

sell order to the Florida Rep for execution at $1.32 per share; the Spokane Trader entered a bid a

penny higher at virtually the same time; and the Florida Rep helped the Spokane Trader buy

24,000 of the 25,000 shares.

       115.    By market close on May 24, 2013, Nominee 1 and Nominee 2’s Legend accounts

had sold a total of 100,000 Biozoom shares – with the Florida Rep and the Spokane Trader

buying 99,000 of them. Over the seven trading days after the inception of BIZM trading, the

price had risen more than 30%, from roughly $1.02/share (based on the November 2012 trades

described in ¶ 106, above) to $1.33/share.

K.     The Argentine Nominees’ Accounts Liquidated BIZM Holdings at Artificially-
       Inflated Prices
       116.    Starting May 28, 2013, the Argentine Nominees’ accounts at the Arizona

Brokerage joined those at Legend in liquidating their Biozoom holdings.

       117.    Accounts at the Arizona Brokerage and Legend placed orders in a similar pattern:

they sent Scarpino and Karow (respectively) instant messages directing pre-market sell orders at

prices slightly above the previous day’s closing price, raised those offer prices at the market

open, and liquidated heavy volumes of shares throughout the day.




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       118.    Each time one of the Argentine Nominees’ accounts at either the Arizona

Brokerage or Legend finished liquidating all or virtually all of its deposited Biozoom shares,

another one of the Argentine Nominees’ account at the same firm began to liquidate its position.

This highly coordinated trading indicates common control of all of the Argentine Nominees’

accounts.

       119.    There was one key difference between the trading behavior of the Argentine

Nominees’ accounts at the two firms. At Legend, Karow routed all of the Argentine Nominees’

orders from May 16 through June 7, 2013 to the Florida Brokerage, which enabled the Florida

Rep to control the flow of Biozoom shares into the market. By contrast, the Argentine

Nominees’ accounts at the Arizona Brokerage provided Scarpino with detailed instructions via

instant message to route multiple sell orders of varying sizes and limit prices to a variety of

market-makers, thus creating the appearance of a broad supply of BIZM stock flowing through

multiple market centers.

       120.    While the Argentine Nominees’ accounts were liquidating their shares in the

coordinated manner described above, additional accounts controlled by Abellan and Ciupiak also

engaged in consistent and coordinated bid activity designed to prop up Biozoom’s stock price.

At the California Brokerage, accounts in the names of Purchaser Nominee 1 and Purchaser

Nominee 2 provided price support by entering pre-market bids just below the previous day’s

closing price, then raising those bids in parallel with market prices over the course of each

trading day.

       121.    Both Purchaser Nominee 1 and 2’s accounts also regularly entered bids at or near

the prevailing market price shortly before the end of the trading day after not having entered a

new bid, or updated an existing bid, for at least one hour. Like their other buy orders, Purchaser



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Nominee 1 and 2’s end-of-day bids sometimes resulted in executed trades in relatively low

volumes, thus confirming a high price level without expending significant sums. For example,

on June 3, 2013, Purchaser Nominee 2 started the day with pre-market buy orders for a total of

300,000 shares at prices below the previous day’s close and updated the orders periodically

throughout the day, always staying slightly below the market. The last update to these orders

was at 2:54 p.m. and resulted in orders to buy 300,000 shares of BIZM at $1.52 and $1.53 per

share while the market was at $1.55/share. At 3:56 p.m. – four minutes before the market close –

Purchaser Nominee 2 entered a new order to buy 5,000 shares of BIZM at $1.54 per share; this

order executed.

        122.    Purchaser Nominee 1 and Purchaser Nominee 2 frequently directed their

registered representative at the California Brokerage to “show size” on large buy orders; in other

words, to display to the market the total number of shares for which they were bidding, rather

than displaying merely a portion of the order. For example, on June 4, 2013, Purchaser Nominee

1 placed an order to buy 150,000 shares of BIZM at $1.57 per share through the California

Brokerage and an additional 150,000 shares at $1.58 per share at another market center; at the

time, the stock was trading at around $1.59 per share. Purchaser Nominee 1 directed the

registered rep to display full size on her orders. By showing interest in 300,000 shares at prices

just below the market, Abellan and Ciupiak created the appearance of significant demand for

BIZM stock, which was intended to have the effect of maintaining – or possibly even increasing

– existing price levels.

        123.    Abellan and Ciupiak used Purchaser Nominee 1 and 2’s accounts in this way to

prop up the price of BIZM stock and create the illusion of a legitimate, robust public market for




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BIZM stock into which they could sell their BIZM shares out of the Argentine Nominees’

accounts.

L.    As Biozoom Promotions Saturated the Market, the Scheme Participants Inflated the
      Price of Biozoom Stock While Securing Substantial Profits
            124. Throughout 2013, Abellan, Ciupiak, and Panther planned and executed an

extensive campaign to promote Biozoom’s stock. They timed the promotional campaign to

coincide with their planned sales of BIZM shares from the Argentine Nominees’ accounts at

Legend and the Arizona Brokerage.

            125. During the Opsolution asset purchase, Panther assumed control of Biozoom’s

public relations, ostensibly at the behest of the “group of investors” he represented. In early

2013, Panther hired several people to promote Biozoom, including through the development of a

corporate website. Royal Capital paid at least one of these employees. Moreover, Panther

installed an associate of his as Biozoom’s Corporate Secretary, with control over Biozoom’s

SEC filings and its U.S. bank account.

            126. Panther planned a campaign of corporate press releases to coincide with the

liquidation of the shares held in the Argentine Nominees’ accounts. In a March 2013 “Strategy

Letter,” Panther instructed the Opsolution officers to create a “blueprint” of Biozoom’s press

release “campaign” “covering at the very minimum, ten to fifteen future releases in advance,”

and comprising “approximately two releases per week beginning in the middle of April and

continuing through mid-June and then again in September onward.” Panther’s “Strategy Letter”

also included a detailed list of potential press release topics and a “PR Schedule” focused on

issuing press releases in May and June 2013.

            127. Beginning on May 21, 2013, Biozoom’s Corporate Secretary issued two press

releases every week on behalf of Biozoom, as directed by Panther. Those releases concerned


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events that had occurred months beforehand. By issuing them routinely, Panther inserted

Biozoom into the newsfeeds of potential investors.

         128. In addition to corporate press releases, Abellan and Panther also orchestrated an

external campaign to promote Biozoom stock and entice investors to purchase stock at inflated

prices. On May 16, 2013, a publication touting Biozoom, The Stock Report, appeared online.

The Stock Report contained the same confidential financial projections that the Opsolution

officers had provided to Panther and Dean during the due diligence process. The Stock Report

indicated that Biozoom’s stock price as of its May 16, 2013 issue date was $1.10 per share, the

price that would be established that very same day in a trade between Nominee 1’s Legend

account and the Florida Rep. The online publication purported to be produced by Global

Investors Research, LLP and a related entity called Global Financial Insight, both of which were

controlled by Abellan and Ciupiak.

       129.    A second publication touting Biozoom, also called Global Financial Insight, was

later distributed to millions of people in hard copy. Abellan and Ciupiak funded the mailer’s

printing and distribution through their entity, Royal Capital.

       130.    Again using the pseudonym “Mark,” Abellan hired a print broker in Arizona (the

“Arizona Printer”) to manage the printing and distribution of approximately 7.5 million copies of

Global Financial Insight. Abellan communicated with the Arizona Printer via phone and a

secure email platform.

       131.    Abellan carefully dictated the distribution schedule for the mailers to coordinate

with the anticipated liquidation of BIZM certificates from the Argentine Nominees’ accounts at

Legend and the Arizona Brokerage. On May 14, 2013, Abellan wrote in an email to Arizona

Printer, “We are still not clear on when we will drop the mailers. We are experiencing some



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delays at brokers.” Abellan wrote this during the time when Panther was facilitating the transfer

of the Argentine Nominees’ share certificates to the Arizona Brokerage after they had failed to

be cleared for trading at the California Brokerage.

        132.   After the Argentine Nominees’ shares had been cleared for trading, Abellan wrote

to the Arizona Printer on May 30, 2013, “We need 750k pieces inbox daily starting Monday

[June] 10 (the soonest time frame possible). Any delays would affect our results dramatically as

we believe that during the end of June and the month of July, trading is going to be slow.”

Abellan attached a calendar with his preferred timeframe. It showed 750,000 mailers arriving at

mailboxes each weekday from June 10 through June 26, 2013. This schedule – and its trading-

related rationale – aligned with the corporate press release timeline Panther had described in his

March 2013 “Strategy Letter” to the Opsolution officers.

        133.   Starting June 6, 2013, more than 7 million copies of Global Financial Insight

were sent to brokers, investors, and other recipients. In a later communication from Abellan to

the Arizona Printer after trading in BIZM had started, Abellan said the mailers were “working

fantastic.”

        134.   The cost to print and mail the mailers was more than $4.7 million. On at least one

occasion, Abellan requested that the Arizona Printer arrange for the cost to be divided and

invoiced to three separate entities: Big Bang Studio, Ltd., Foresight Media Inc., and Global

Investors Research LLP, which was the purported distributor of Global Financial Insight. All

were entities connected to either Abellan or Ciupiak. Despite the attempt to conceal the payment

source, all of the payments for the mailers came, directly or indirectly, from Royal Capital.

        135.   For example, one payment came from Royal Capital through two Argentine

individuals Panther referred to Dean, who then wired Dean $550,000. Dean then – pursuant to a



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“Subscription Agreement” with Global Investors Research – wired all of those funds onward as

payment for the mailer.

       136.    Another payment of roughly $375,000 came from Royal Capital directly.

       137.    Panther also communicated with the Arizona Printer regarding Global Financial

Insight. On at least one occasion, Abellan passed his phone to Panther so Panther could speak

directly with the Arizona Printer.

       138.    Abellan and Ciupiak, using intermediaries to conceal their roles, also funded a

significant radio and print campaign advertising The Stock Report and Global Financial Insight.

Although ostensibly intended to promote those publications, the advertising campaign actually

focused on touting Biozoom. Royal Capital, through Global Investors Research, funded a

significant radio advertising campaign in support of these publications. During the week of June

10-14, 2013, iHeart Radio broadcast at least forty 30-second ads for The Stock Report on

nationally syndicated shows, including the Rush Limbaugh Show.

       139.    Abellan and Ciupiak also funded and coordinated a campaign of full-page

advertisements for Global Financial Insight and Biozoom in print publications including USA

Today’s June 18 edition, the June 23 Sunday Business Section of The New York Times, and a

two-page spread in a Forbes issue planned to hit newsstands on June 28. In late May and early

June, Royal Capital, through Foresight Media, sent hundreds of thousands of dollars to a

Toronto, Canada entity (“Toronto Ad Broker”) controlled by a friend of Panther’s. The Toronto

Ad Broker then paid a U.S. media broker to place the ads.

       140.    Entities controlled by Abellan and Ciupiak also arranged for a campaign of web

advertisements on major platforms including Yahoo! and Google. For example, on April 5,

2013, Yahoo! employees received an email sent from a domain belonging to Foresight Media



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regarding the Global Financial Insight and Biozoom promotional campaign. Later

communications about the campaign came from a domain associated with another Abellan and

Ciupiak entity, Big Bang Studio. A payment of more than $180,000 was made to Yahoo Inc.

from the account of Big Bang Studio on April 29, 2013.




M.     Trading Volume Continued to Grow as the Promotional Campaign Increased in
       Intensity

       141.    Starting on Monday, June 10, 2013, the Biozoom promotional campaign reached

new intensity. By this date, the Global Financial Insight mailer funded and/or coordinated by

Abellan, Ciupiak and Panther had already reached millions of recipients. The radio and major

print advertisements that Abellan and Ciupiak funded, discussed above, began that week as well.

       142.    During this period Biozoom trading volume spiked dramatically. Volume went

from approximately 3.5 million shares traded on Friday, June 7, 2013 (the highest daily volume

to that point, by almost 800,000 shares), to 11.7 million shares just two trading days later on June

11, 2013. During the eleven trading days from June 10-24, 2013, just over 77 million shares

changed hands. Because, as discussed above in ¶ 25, no registration statement was in effect for

the shares the Argentine Nominees liquidated, those sales constituted an illegal unregistered

distribution. Meanwhile, in this two-week period the share price almost doubled. It climbed

from $1.77 at the market close on June 7, 2013 to close at $3.45 on June 24, an increase of 95%.

The price peaked on June 19 at $4.50/share.

       143.    To further stimulate market demand and keep up the share price amid the deluge

of liquidations from the Argentine Nominees’ accounts, Purchaser Nominee 1, Purchaser

Nominee 2, the Spokane Trader, and his associates – some of them using multiple accounts –


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bought and sold hundreds of thousands of shares each day; Spokane trader alone averaged more

than 100,000 shares bought and sold daily over the trading period. This trading created the

appearance of a deep, highly active market. AFI – the nominee entity controlled by Abellan and

Ciupiak – also entered the market, buying and selling more than $2,000,000 of BIZM stock in a

retail account at the Online Brokerage, while at the same time providing price support via its

accounts at the California Brokerage and the Arizona Brokerage.

       144.    As the Argentine Nominees’ accounts finished liquidating their deposited BIZM

shares, certain of them switched to the buy-side to provide price support for ongoing share

liquidations. For example, one of the Argentine Nominees’ accounts at the Arizona Brokerage

(“Nominee 4”), after it completed the liquidation of its deposited BIZM shares, switched sides

and joined AFI and Purchaser Nominees 1 and 2 in providing bid support. On June 13, after

having sold more than 1.59 million Biozoom shares over the preceding four trading days,

Nominee 4 entered numerous buy orders at limit prices below the market and directed them to

different market makers.

       145.    Other of the Argentine Nominees’ accounts used their sales proceeds to engage in

additional manipulative trading. For example, after Nominee 2’s account at Legend liquidated

most of its shares, the account wired $1 million in proceeds to a newly-created account in

Nominee 1’s name at the Arizona Brokerage. That account then provided bid support for

ongoing share liquidations by actively day trading BIZM stock.

       146.    This bid support was motivated, at least in part, by a concern that short sellers

were trying to drive down Biozoom’s share price – a concern expressed numerous times by

Panther and in instant messages sent from accounts associated with Abellan and Ciupiak’s

nominees. For example, Panther expressed his concern about short sellers entering the BIZM



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market during phone calls with Scarpino. On June 20, 2013, instant messages sent from an AFI

account controlled by Abellan and Ciupiak to a registered representative at the California

Brokerage repeatedly expressed concerns about short-sellers. And a June 21, 2013 instant

message sent from an AFI account to the same registered representative at 3:24 p.m. expressed

interest in keeping Biozoom’s share price high through the market close, writing “I’ll buy you a

beer if this holds above 3 today.”

N.     Abellan and Ciupiak Obtained Illegal Sale Proceeds

       147.    As the Argentine Nominees’ accounts controlled by Abellan and Ciupiak

completed their share liquidations, a number of them wired their proceeds offshore and

eventually to Abellan and Ciupiak. For example, on June 18, $600,000 was wired from

Nominee 3’s Legend account to the bank account in Cyprus through which Abellan and Ciupiak

had initially funded Nominee 3’s Legend account. Nominee 3’s Cyprus bank account then wired

$500,000 onward to Royal Capital. Similarly, in transfers on June 20 and June 24, another of the

Argentine Nominees sent wires totaling approximately $6.2 million to a bank account in Cyprus,

then transferred virtually all of the money onward to Royal Capital.

O.     After the Commission Suspended Trading in Biozoom, Abellan and Panther Sought
       to Conceal Their Involvement in the Scheme

       148.    On June 25, 2013, the SEC suspended trading in BIZM stock. The same day,

someone using a Foresight Media email address – the same domain used by Abellan and

associated with one of the entities he and Ciupiak used to fund the promotional campaign –

emailed Yahoo! to “confirm that the [sic] all the campaigns are on pause right now.” The

email’s author also stated that he was “trying to delete two credit cards from the account . . .

attached to the campaign.”




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       149.    After the SEC suspended trading and issued a subpoena to Biozoom, Panther met

with the Opsolution officers in Germany. Panther asked them to sign a letter agreement on his

father’s law firm letterhead addressed to EERT and back-dated to March 15, 2013. The letter

falsely represented that EERT had retained Panther’s father’s law firm and stated, “We have

discussed and you have agreed that we may choose to hire or retain, and to pay, third party

vendors hired for your matter (‘Third Party Service Providers’) which shall include but not be

limited to my son James Panther, Jr. to perform due diligence and advisory services.”

       150.    By this time, the Opsolution officers had learned that the person they knew as

“James Suqui” was in fact James Panther. The letter agreement offered by Panther was

purportedly signed by Panther’s father and was designed to use attorney-client privilege to

protect Panther’s communications with EERT/Biozoom from disclosure; Panther urged them to

sign the agreement, stating that he would be “protected” if they did so. Opsolution’s officers,

who had never heard of the law firm, refused to execute the fraudulent agreement.

P.     Abellan’s Reaction to the Freezing of the Nominee Accounts Confirmed Abellan’s
       Control

       151.    After the SEC suspended trading in BIZM, a federal court granted the SEC’s

request for a restraining order and asset freeze, which had the effect of preventing additional

funds in the Argentine Nominees’ brokerage accounts from being transferred to Abellan and

Ciupiak. Several foreign authorities also froze certain bank accounts abroad that received BIZM

sales proceeds, including Royal Capital accounts connected to Abellan and Ciupiak.

       152.    After the asset freeze, Abellan had difficulty completing payments to the Arizona

Printer for the mailers. As of early July, the Arizona Printer was still owed $100,000 for his

work related to Global Financial Insight. When he inquired about the unpaid funds, Abellan

told him to “please call James . . . at the regular phone line you were given.” That day, the

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Arizona Printer called Abellan’s Barcelona phone number. At the time, Panther was in

Barcelona. Later, the Arizona Printer wrote to Abellan, “I spoke with James. He said he was

going to take care of the $100,000 wire that was owed. It’s been 3 weeks now. We need to get

that paid right away.” Abellan replied, “We need a few days to move funds from a different

place because the escrow attorney got a subpoena and it was not appropriate to send money to

you from there.”

       153.    Later that summer, Abellan told the Swiss lawyer that he “had no cards to pay for

life expenses. There has been a temporal freeze of our main bank account where we had all

cards linked.” Abellan asked the Swiss lawyer for “debit cards” including “some cards li[n]ked

to AFI.”

Q.     Defendants Participated in the Fraudulent Scheme with Scienter

       154.    Defendants’ deceptive conduct had the effect of creating a false appearance of

material fact that (1) Biozoom shares were legally available for sale to the general public; and (2)

the price and trading volume of Biozoom shares were determined by the natural interplay of

market supply and demand, rather than artificially generated through manipulative trading.

Defendants’ deceptive conduct also concealed Abellan and Ciupiak’s control of all of the

Biozoom private placement shares and their responsibility for the multi-media promotional

campaign touting Biozoom in coordination with the manipulative trading.

       155.    As one of the scheme’s architects, Abellan engaged in deceptive conduct in

furtherance of the scheme. Specifically, he knowingly or recklessly:

               •   With Ciupiak, created and funded nominee accounts in the names of

                   Argentine Nominees to conceal their control of the account activity, including

                   manipulative trading (¶¶ 40, 54-61, 77-78, 81, 91-92, 95, 123 above);



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              •   Also with Ciupiak, created and used sham “loan agreements” and “trust

                  agreements” to fund the Argentine Nominees’ accounts (¶¶ 56-59);

              •   Created, funded, and controlled AFI while concealing his role by installing a

                  nominee as the entity’s director (¶¶ 96-103);

              •   Organized and funded diverse promotions intended to lure investors into

                  purchasing BIZM shares at inflated prices (¶¶ 124, 128-141);

              •   Received and sent emails and instant messages while purporting to be certain

                  Argentine Nominees, while sometimes using anonymous proxy servers to

                  conceal his control (¶¶ 60, 61, 92, 99, 146);

              •   Used a pseudonym when dealing with third parties that facilitated the opening

                  of the AFI accounts and the aggressive promotional scheme (¶¶ 100, 130); and

              •   With Ciupiak, funded the purchase of Opsolution (¶ 53).

       156.   As a scheme architect, Ciupiak engaged in deceptive conduct in furtherance of the

scheme. Specifically, he knowingly or recklessly:

          •   Orchestrated and funded the purchase of the free-trading EERT shares while

              concealing his role (¶¶ 30-38);

          •   With Abellan, created and funded accounts in the names of the Argentine

              Nominees to conceal their control of the account activity, including manipulative

              trading (¶¶ 40, 54-61, 77-78, 81, 91-92, 95, 123);

          •   With Abellan, created and used sham “loan agreements” and “trust agreements” to

              fund the Argentine Nominees’ accounts (¶¶56-59);




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          •      With Abellan, received and sent emails and instant messages while purporting to

                 be the Argentine Nominees, while sometimes using anonymous proxy servers to

                 conceal their control (¶¶ 60, 61, 92, 99); and

          •      With Abellan, funded the promotional scheme and the purchase of Opsolution (¶¶

                 53, 129, 134-136, 138-140).

      157.       Panther similarly engaged in a variety of deceptive conduct. Specifically, he

knowingly or recklessly:

             •   Arranged the opening of accounts at different brokerages, ostensibly on behalf of

                 the Argentine Nominees, but in fact so that Abellan and Ciupiak could engage in

                 manipulative trading practices using these accounts (¶¶ 62-90);

             •   Falsely portrayed himself as a lawyer to Karow and misrepresented who his

                 purported client was (¶¶ 73, 74);

             •   Portrayed himself as the representative of interested investors to the Opsolution

                 officers and requested a business plan, when in fact he only wanted a company –

                 and its information – to promote (¶¶ 47-50);

             •   Used a pseudonym in communications with the Opsolution officers and certain

                 brokers (¶¶ 47, 82, 84, 102);

             •   Directed – and hired staff to perform – promotional and public relation activity

                 for Biozoom in coordination with Abellan and Ciupiak’s manipulative trading (¶¶

                 124-127, 137); and

             •   Sought to conceal his misconduct by asking the Opsolution officers to sign a

                 back-dated agreement with his father’s law firm in an attempt to protect Panther’s

                 communications from disclosure (¶¶ 149-150).


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      158.    Dean also knowingly or recklessly engaged in deceptive conduct in furtherance of

the scheme. Specifically, he knowingly or recklessly structured the purchase of EERT to

conceal Abellan and Ciupiak’s acquisition of 20 million EERT shares and to ensure that those

shares did not bear a restrictive legend. (¶¶ 30-38.) Dean then employed transfer agents,

escrow agents, brokers and attorneys to facilitate the use of those shares by the Argentine

Nominees’ accounts. (¶¶ 39-44, 54, 67-71, 74-79, 90.) He also facilitated the funding of a

portion of the Biozoom promotional effort. (¶ 135.) In connection with this knowingly

deceptive conduct, Dean diverted substantial funds to his own use. (¶ 36.)

R.    Defendants Sold BIZM Shares Without an Effective Registration Statement

      159.    Abellan and Ciupiak, through the Argentine Nominees’ accounts, directly sold

more than 14 million BIZM shares in public over-the-counter transactions without an effective

registration statement.

      160.    Panther and Dean were indirect sellers with respect to Abellan and Ciupiak’s

illegal unregistered distribution of BIZM shares, as actions taken by Dean and Panther were

indispensable to Abellan and Ciupiak’s sales.

      161.    Panther provided false documents and information to brokers regarding the BIZM

share deposits, managed the opening of the Argentine Nominees’ accounts at the Arizona

Brokerage, and arranged for the accounts to be able to trade via instant message. All of these

actions enabled Abellan and Ciupiak to illegally sell their shares to the public.

      162.    Dean also facilitated the unregistered distribution. Specifically, he orchestrated

sham transactions; hired multiple escrow agents to document these sham transactions; provided

fabricated documents and false information to brokers, lawyers, and the transfer agent; and




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 facilitated the deposits of those share certificates at Legend and Arizona Brokerage. These

 actions were essential to Abellan and Ciupiak’s sales.


                                          COUNT ONE

      Violations of Exchange Act Section 10(b) and Rule 10b-5(a) and (c) Thereunder
                                (Against All Defendants)

        163.    The Commission realleges and reincorporates paragraphs 1 through 158 as if fully

set forth herein.

        164.    Defendants Abellan, Ciupiak, Panther and Dean, with scienter, by use of the

means or instrumentalities of interstate commerce or of the mails, in connection with the

purchase or sale of securities:

        (a)     employed devices, schemes, or artifices to defraud; and

        (c)    engaged in acts, practices or courses of business which operated or would operate

        as a fraud or deceit.

        165.    By reason of the actions alleged herein, Defendants Abellan, Ciupiak, Panther and

Dean each violated Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5(a)

and (c) thereunder [17 C.F.R. § 240.10b-5] and unless restrained and enjoined will do so again in

the future.

                                              COUNT TWO

        Unregistered Securities Offerings in Violation of Section 5 of the Securities Act
                                      (Against All Defendants)

        166.        The Commission realleges and reincorporates paragraphs 1 through 158 as if

fully set forth herein.

         167. Defendants, directly or indirectly, made use of the means or instruments of

 transportation or communication in interstate commerce, or of the mails, to offer to sell or to


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 sell securities, or to carry or cause such securities to be carried through the mails or in interstate

 commerce for the purpose of sale or for delivery after sale.

          168. No registration statement was filed or in effect with respect to any of the offerings

 or sales alleged herein, nor did any exemption from the registration requirements exist with

 respect to the securities and transactions describe in this Complaint.

          169. By engaging in the conduct described above, Defendants have violated Sections

 5(a) and 5(c) of the Securities Act, 15 U.S.C. § 77e, ), and unless restrained and enjoined will

 do so again in the future.

                                              COUNT THREE

                        Violation of Section 17(a)(1) and (3) of the Securities Act
                                        (Against All Defendants)

          170. The Commission realleges and reincorporates paragraphs 1 through 158 as if fully

set forth herein.

          171. Defendants directly and indirectly, singly and in concert, by the use of the means

and instruments of transportation or communication in interstate commerce, and in connection

with the offer or sale of securities: (a) with scienter, employed devices, schemes or artifices to

defraud; or (b) engaged in one or more transactions, acts, practices or courses of business which

operated or would operate as a fraud or deceit upon purchasers.

          172. By engaging in the conduct described above, Defendants violated Section 17(a) of

the Securities Act, 15 U.S.C. § 77q(a), and unless restrained and enjoined will do so again in the

future.




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                                       PRAYER FOR RELIEF

       WHEREFORE, the Commission respectfully requests that the Court enter Final

Judgments:

       A.         Finding that Defendants violated the provisions of the federal securities laws as

alleged herein;

       B.         Permanently restraining and enjoining Defendants from, directly or indirectly,

engaging in conduct in violation of Section 10(b) of the Exchange Act [15 U.S.C. §§ 78j(b)] and

Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5];

       C.         Permanently restraining and enjoining Defendants from, directly or indirectly,

engaging in conduct in violation of Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

       D.         Permanently enjoining Defendants from, directly or indirectly, engaging in

conduct in violation of Section 5 of the Securities Act [15 U.S.C. § 77e];

       E.         Barring Defendants from participating in an offering of penny stock, including

engaging in activities with a broker, dealer, or issuer for purposes of issuing, trading, or inducing

or attempting to induce the purchase or sale of any penny stock, pursuant to Section 21(d)(6) of

the Exchange Act [15 U.S.C. § 78u(d)(6)];

       F.         Ordering Defendants to jointly and severally disgorge, with prejudgment interest,

all ill-gotten gains received by any person or entity as a result of the conduct alleged in this

Complaint;

       G.         Ordering Defendants to pay civil penalties pursuant to Section 20(d) of the

Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. §

78u(d)(3)]; and




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       H.     Granting such other and further relief as the Court deems just, equitable, or

necessary.




Date: May 15, 2018                          /S/ Jennie Krasner
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